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 4

 5
     Attorney for Defendant
     RONALD REEVES
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-365-GEB
 9
                                                    )
                                                    )
10           Plaintiff,                             )       STIPULATION REGARDING
                                                    )       EXCLUDABLE TIME PERIODS
11
     v.                                             )       UNDER SPEEDY TRIAL ACT;
                                                    )       [PROPOSED] FINDINGS AND ORDER
12
     JOSE AGUILAR-MADRIZ, et al.                    )
                                                    )
13
                                                    )       Date: October 25, 2013
                                                    )       Time: 9:00 a.m.
14
             Defendants.                            )       Judge: Honorable Garland E. Burrell, Jr.
                                                    )
15
                                                    )
16

17
             The United States of America through its undersigned counsel, Justin Lee, Assistant
18

19   United States Attorney, together with counsel for defendant Ronald Reeves, John R. Manning,

20   Esq., counsel for defendant Artemio Aguilar, Dan F. Koukol, Esq., counsel for defendant Juan
21
     Silva, Carl E. Larson, Esq., counsel for defendant Salvador Silva, J Toney, Esq., counsel for
22
     defendant David Martinelli, Michael B. Bigelow, Esq., counsel for defendant Gregorio Zapien-
23

24
     Mendoza, Scott N. Cameron, Esq., counsel for defendant Gabino Cuevas-Hernandez, Hayes H.

25   Gable, III, Esq., and counsel for defendant Moses Puledo Aguilar, Clemente Jimenez, Esq.,
26
     hereby stipulate the following:
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          1. By previous order, this matter was set for status conference on September 13, 2013.
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                                                        1
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        2. By this stipulation, the defendants now move to continue the status conference until
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 2   October 25, 2013 and to exclude time between September 13, 2013 and October 25, 2013 under

 3   the Local CodeT-4 (to allow defense counsel time to prepare).
 4
        3. The parties agree and stipulate, and request the Court find the following:
 5
            a. Counsel for the defendants need additional time to review the discovery, conduct
 6

 7
                investigation, and continue negotiations with prosecution in an effort to reach a

 8              resolution.
 9          b. Currently the discovery in this case includes 129 pages and two video DVDs.
10
            c. Counsel for the defendants believe the failure to grant a continuance in this case
11
                would deny defense counsel reasonable time necessary for effective preparation,
12

13              taking into account the exercise of due diligence.

14          d. The Government does not object to the continuance.
15
            e. Based on the above-stated findings, the ends of justice served by granting the
16
                requested continuance outweigh the best interests of the public and the defendants in
17
                a speedy trial within the original date prescribed by the Speedy Trial Act.
18

19          f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20              Section 3161(h)(7)(A) within which trial must commence, the time period of
21
                September 13, 2013 to October 25, 2013, inclusive, is deemed excludable pursuant to
22
                18 United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
23
                Local Code T-4 because it results from a continuance granted by the Court at
24

25              defendant’s request on the basis of the Court’s finding that the ends of justice served

26              by taking such action outweigh the best interest of the public and the defendants in a
27
                speedy trial.
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                                                      2
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           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2   Speedy Trial Act dictate that additional time periods are excludable from the period within which

 3   a trial must commence.
 4
           IT IS SO STIPULATED.
 5
     Dated: September 10, 2013                                       /s/ John R. Manning
 6                                                                  JOHN R. MANNING
 7
                                                                    Attorney for Defendant
                                                                    Ronald Reeves
 8
     Dated: September 10, 2013                                      /s/ Dan F. Koukol
 9                                                                  DAN F. KOUKOL
10
                                                                    Attorney for Defendant
                                                                    Artemio Aguilar
11
     Dated: September 10, 2013                                      /s/ Carl E. Larson
12
                                                                     CARL E. LARSON
13                                                                  Attorney for Defendant
                                                                    Juan Silva
14
     Dated: September 10, 2013                                      /s/ J Toney
15
                                                                    J TONEY
16                                                                  Attorney for Defendant
                                                                    Salvador Silva
17
     Dated: September 10, 2013                                      /s/ Michael B. Bigelow
18
                                                                    MICHAEL B. BIGELOW
19                                                                  Attorney for Defendant
                                                                    David Martinelli
20
     Dated: September 10, 2013                                      /s/ Scott N. Cameron
21
                                                                    SCOTT N. CAMERON
22                                                                  Attorney for Defendant
                                                                    Gregorio Zapien-Mendoza
23
     Dated: September 10, 2013                                      /s/ Hayes H. Gable
24
                                                                    HAYES H. GABLE
25                                                                  Attorney for Defendant
                                                                    Gabino Cuevas-Hernandez
26

27

28   ///


                                                        3
             Case 2:11-cr-00365-GEB Document 206 Filed 09/17/13 Page 4 of 4


     Dated: September 10, 2013                        /s/ Clemente Jimenez
 1
                                                     CLEMENTE JIMENEZ
 2                                                   Attorney for Defendant
                                                     Moses Puledo Aguilar
 3
     Dated: September 11, 2013                       Benjamin B. Wagner
 4
                                                     United States Attorney
 5
                                               by:   /s/ Justin Lee
 6                                                   JUSTIN LEE
 7
                                                     Assistant U.S. Attorney

 8
                                        ORDER
 9

10
           IT IS SO FOUND AND ORDERED .
11   Dated: September 13, 2013
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